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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

FELIX SARDISCO, et al.                         )       CASE NO: 1:13-CV-02701
                                               )
on behalf of himself and                       )       JUDGE: HON. PATRICIA A. GAUGHAN
all others similarly situated                  )
                                               )
        Plaintiffs,                            )
                                               )
vs.                                            )
                                               )
DIRECT IMPORT HOME DÉCOR, INC./                )
CABINETS & GRANITE DIRECT, et al.              )
                                               )
        Defendants.                            )

                                             ORDER

        This Court has reviewed the Joint Motion to Approve the Settlement Agreements, as well

as the terms of the proposed settlement agreements, provided separately to the Court for review.

        For good cause shown, the Joint Motion to Approve the Settlement Agreements is hereby

GRANTED. The Settlement Agreements are fully executed and binding on all parties as of the

date of this Order. The Court retains the jurisdiction over the settlement.

IT IS SO ORDERED.



        12/3/14                                        /s/ Patricia A. Gaughan
Dated:_________________________                        ________________________________
                                                       Hon. Patricia A Gaughan
                                                       United States District Judge




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